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                                                                                       FILED
                                                                                       FEB 1    2017
                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS                           CLERK, US, OSTR!C
                                                                                                    OURI
                                  PECOS DIVISION


UNITED STATES OF AMERICA

                               Plaintiff                       Cause No.

 V.                                                   CTS 1-4:          18 U.S.C. § 875(c)
                                                               Interstate Threats to Injure a
                                                               Person

NICHOLAS KYLE MARTINO,


                               Defendant.




THE UNITED STATES ATTORNEY CHARGES:

                                           COUNT ONE
                                       {18 U.S.C.   §875(c)J

       On or about the 8th day of September, 2016, in the Western District of Texas and

elsewhere, the Defendant,

                                NICHOLAS KYLE MARTINO,

knowingly transmitted a telephonic communication in interstate and foreign commerce from the

State of New Jersey to the State of Texas, which communication contained a threat to injure any

person; to wit: on that date, NICHOLAS KYLE MARTINO, in a telephone call to the Brewster

County Dispatch in Alpine, Texas, communicated that he had a bonTh: he was heading to the Sul

Ross campus; he did not want anyone to be looking for him; he didn't want anyone to "fuck" with

him; he had a bomb; he was not afraid to use the bomb; and that everyone should leave him the

"fuck" alone, in violation of Title 18 U.S.C. §875(c).
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                                          COUNT TWO
                                        118 U.S.C. §875(c]

       On or about the 8th day of September, 2016, in the Western District of Texas and

elsewhere, the Defendant,

                                 NICHOLAS KYLE MARTINO,

knowingly transmitted a telephonic communication in interstate and foreign commerce from the

State of New Jersey to the State of Texas, which communication contained a threat to injure any

person; to wit: on that date, NICHOLAS KYLE MARTINO, in a telephone call to the Big Bend

Regional Medical Center, in Alpine, Texas, communicated that he was going to kill "everyone in

the flicking hospital," in violation of Title 18 U.S.C. §875(c).



                                         COUNT THREE
                                          U.S.C. §875(c)J
                                        118

       On or about the 10th day of September, 2016, in the Western District of Texas and

elsewhere, the Defendant,

                                 NICHOLAS KYLE MARTINO,

knowingly transmitted a communication, via Twitter, an online social networking service, in

interstate and foreign commerce from the State of New Jersey to the State of Texas, which

communication contained a threat to injure any person; to wit: on that date, NICHOLAS KYLE

MARTINO sent a tweet to Sul Ross State University stating: "I'm sending a 20mm pipe bomb to

P0 Box 777 Alpine, TX 79831 @petegaliego @Pete4TX @USPS @USPSHe1P. Enjoy going
boom-boom (:" and "Watch out @S ui_Ross, a pipe bomb is on its way to P0 Box 777 Alpine, TX

79831, which is on your campus B] I want @PeteGaliego flicking dead," all in violation of Title

18 U.S.C. §875(c).
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                                        COUNT FOUR
                                      118 U.S.C. §875(c)i


       On or about the 10th day of September, 2016, in the Western District of Texas and

elsewhere, the Defendant,

                               NICHOLAS KYLE MARTINO,

knowingly transmitted a communication, via T\vitter, an online social networking service, in

interstate and foreign commerce from the State of New Jersey to the State of Texas, which

communication contained a threat to injure any person; to wit: on that date, NICHOLAS KYLE

MARTINO sent a tweet to former United States Congressman Pete Gallego, in which the

Defendant threatened, among other things, to kill Pete Gallego and his family; specifically, the

Defendant tweeted the personal address of Pete Gallego and stated, "is getting an AR15 and an

AK47 later today;" "Incendiary rounds thr all!;" "I will kill @PeteGallego and his family;" and

"Kill Pete Gallego!;" and "1 want @PeteGallego fucking dead," all in violation of Title 18 U.S.C.

§875(c).




                                                            Respectfully Submitted,

                                                            RICHARD L. DURBIN, JR.
                                                            UNITED STATES ATTORNEY


                                                            By:
                                                            .JAMES
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                                                            Assistant
